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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

                                                 )
Climate United Fund,                             )
                                                     Civil Action No. 25-cv-698 (TSC)
                                                 )
                                                     Civil Action No. 25-cv-735 (TSC)
                       Plaintiff,                )
                                                     Civil Action No. 25-cv-762 (TSC)
                                                 )
                                                     Civil Action No. 25-cv-820 (TSC)
       v.                                        )
                                                     Civil Action No. 25-cv-938 (TSC)
                                                 )
                                                     Civil Action No. 25-cv-948 (TSC)
Citibank, N.A., et al.,                          )
                                                     (Consolidated Cases)
                                                 )
                       Defendants.               )
                                                 )

                   DEFENDANT CITIBANK, N.A.’S STATUS REPORT

       Pursuant to the Court’s April 15, 2025 Order granting Plaintiffs’ Motion for Preliminary

Injunction, ECF 80, Defendant Citibank, N.A. submits the following status report.

       Citibank is complying with the Court’s directives in its April 15 Order.            Citibank

understands those directives to require it to maintain the grant funds in Plaintiffs’ respective

accounts and to not transfer the funds to the Government. Citibank further understands that those

directives require it to refrain from releasing any funding disbursements from those accounts until

Thursday, April 17, 2025 at 2:00PM ET.

       Citibank informs the Court that the Government Defendants have filed an Emergency

Motion for Immediate Administrative Stay and Stay Pending Appeal with the D.C. Circuit Court

of Appeals. See Case No. 25-5122, Doc. #2111408. Citibank also intends to make its own filing

with the D.C. Circuit, joining the request for an administrative stay, while taking no position on

the motion for stay pending appeal. If the D.C. Circuit grants a stay (administrative or otherwise),

Citibank will comply with the terms of that order.

       Whether or not the D.C. Circuit grants a stay, Citibank informs the Court that, as

contemplated by the Account Control Agreements, see, e.g., ECF 14-4 ¶ 4 and Addendum 1, the
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grant funds in Plaintiffs’ respective accounts are invested in money market funds. Consistent with

Citibank’s business-as-usual processes, and in light of the Court’s disbursement pause until April

17, 2025 2:00PM ET and the money market fund holiday closures on Thursday, April 17, 2025,

and Friday, April 18, 2025, for the Good Friday holiday, Citibank is not able to begin processing

disbursement of grant funds until Monday, April 21, 2025.


 Dated: April 16, 2025                                 Respectfully submitted,


                                                 By: /s/ K. Winn Allen
                                                     K. Winn Allen, P.C.
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                                                       Counsel for Defendant Citibank, N.A.




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                                CERTIFICATE OF SERVICE

       The undersigned certifies that on this 16th day of April 2025, I caused copies of the

foregoing to be served via the Court’s CM/ECF system.



                                                    /s/ K. Winn Allen
                                                    K. Winn Allen, P.C.
